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EXECUTIVE SUMMARY


Property Type:                           Four Non-Contiguous Tracts of Effectively Vacant
                                         Land (“Tracts A – D”)

Location:                                Four Non-contiguous tracts generally located at the
                                         NE/C of the Grand Parkway and Colonial Parkway
                                         (Tract A); SW/C of Colonial Parkway and Westside
                                         Parkway (Tract B); NW/C of IH-10 and Westside
                                         Parkway (Tract C); and, NW/C of IH-10 and Mason
                                         Road (Tract D), Harris County, Texas 77449

Legal Description:                       Tract A - 14.51 acres out of the H.T. & B. R.R. Co.
                                         Survey, Block 3, Section 9, Abstract 421, Harris
                                         County, Texas

                                         Tract B - 19.56 acres being Restricted Reserve A,
                                         Westside Mall Sec. 3 Subdivision, W.C.R.R. Co.
                                         Survey, Block 3, Section 7, Abstract 903, Harris
                                         County, Texas

                                         Tract C - 18.70 acres being Restricted Reserve B,
                                         Westside Mall Sec. 3 Subdivision, W.C.R.R. Co.
                                         Survey, Block 3, Section 7, Abstract 903, and
                                         W.C.R.R. Co. Survey, Block 3, Section 8, Abstract
                                         1410, Harris County, Texas

                                         Tract D - 99.01 acres out of the W.C.R.R. Co.
                                         Survey, Block 3, Section 7, Abstract 903, and
                                         W.C.R.R. Co. Survey, Block 3, Section 8, Abstract
                                         1410, Harris County, Texas

Effective Date of Appraisal:             April 10, 2019

Date of Report:                          October 3, 2022

Report Type:                             Appraisal Report

Identity of the Client:                  Houston Community College and its authorized
                                         representative, including Mr. Jonathan Brush




                                 C.A. No. 4:19-CV-2928

                                    DEFENDANT’S                                     3|Page
                                      EXHIBIT
                                         4                      C.A. No. 4:19-CV-2928
                                                               Defendant's Exhibit 4-1
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EXECUTIVE SUMMARY


Value Estimate:                         Retrospective Market Value

Interest Appraised:                     Fee Simple Interest

Intended Use of the Appraisal:          Civil Action H-19-2929; Westside Ventures, Ltd.,
                                        Plaintiff, versus Houston Community College System
                                        District, Defendant, In the United States District
                                        Court Southern District of Texas, to assist the Court
                                        in determining retrospective market value and
                                        compensable damages for purposes of just
                                        compensation.

Intended Users of the Report:           Houston Community College, Mr. Jonathan Brush,
                                        and the Federal Court

Highest and Best Use:
   Before the Acquisition               Commercial use, subject to the restrictions on Tracts B
                                        and C

   After the Acquisition                Continued, unimpaired commercial use, subject to
                                        the restrictions on Tracts B and C

Exposure Time:
   Before the Acquisition               Six to 12 months

   After the Acquisition                Six to 12 months

Valuation Methodology:                  Land Sales Comparison Approach

Extraordinary Assumptions:              None

Hypothetical Conditions:                None




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                                                              Defendant's Exhibit 4-2
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EXECUTIVE SUMMARY


Property Characteristics:                         The subject appraised consists of four non-
                                                  contiguous tracts of effectively vacant land (“Tracts
                                                  A-D”) totaling 151.78 acres owned by Westside
                                                  Ventures, Ltd. Before the taking, Westside
                                                  controlled the use of surrounding land they
                                                  previously owned by imposing deed restrictions on
                                                  properties it sold over the years, including the 25.17
                                                  acres of land purchased by HCC (“HCC Property”)
                                                  on April 10, 2019. Westside’s deed restrictions
                                                  limited the use of the HCC Property to single-
                                                  family residential, office building, and/or office
                                                  warehouse use before the taking.1

                                                  After the taking, the subject tracts are similar in all
                                                  aspects except they are now located next to a HCC
                                                  campus, instead of the deed restricted tract that
                                                  existed prior to the taking.

Retrospective Market Value Estimates:
     Sum Total Market Value Before the Acquisition                 $       96,900,000
     Sum Total Market Value After the Acquisition                 -$       96,900,000
     Difference                                                    $                0




1
 H.C.C.F No. 2007.0597825 (Cash Special Warranty Deed, dated September 28, 2007), as amended by H.C.C.F No.
2012.0274574 (First Amendment to Cash Special Warranty Deed, executed June 6, 2012). The HCC Property is part
of the real property described as the “East Tract” in both deed records.

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                                                                          Defendant's Exhibit 4-3
